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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

LORI BILLGER,

       Plaintiff,

       v.                                            CASE NO.: 6:15-cv-1293-Orl-37DAB


ASHFORD UNIVERSITY, LLC,

      Defendant.
______________________________________/

                          JOINT STIPULATION FOR DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby stipulate that Plaintiff Lori
Billger, dismisses with prejudice her Lawsuit against Ashford University, LLC. The parties
further stipulate that each shall be responsible for bearing their own expenses, costs of litigation
and attorney’s fees.

DATED this 22nd day of January, 2015.

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